          Case 8:23-cv-01321-SDM-AEP Document 5 Filed 06/14/23 Page 1 of 1 PageID 20
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Middle District
                                             __________ DistrictofofFlorida
                                                                     __________


                      STEVEN STENTZ                            )
                             Plaintiff                         )
                                v.                             )      Case No. 8:23-CV-01321-SDM-AEP
                     CITY OF DUNEDIN                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         STEVEN STENTZ                                                                                                 .


Date:          06/14/2023                                                                s/ Jeremy D. Bailie
                                                                                         Attorney’s signature


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